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          EXHIBIT B
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                                                U.S. District Court
                                     District of Columbia (Washington, DC)
                                CIVIL DOCKET FOR CASE #: 1:08-cv-00503-RMU


 GOLDBERG-BOTVIN et al v. ISLAMIC REPUBLIC OF IRAN                                   Date Filed: 03/24/2008
 et al                                                                               Date Terminated: 04/23/2010
 Assigned to: Judge Ricardo M. Urbina                                                Jury Demand: None
 Demand: $372,000,000                                                                Nature of Suit: 360 P.I.: Other
  Cases: 1:00-cv-02328-RDM                                                           Jurisdiction: Federal Question
         1:05-cv-00220-RCL
 Cause: 28:1602 Foreign Sovereign Immunities Act
 Plaintiff
 JULIE GOLDBERG-BOTVIN                                                   represented by Richard D. Heideman
                                                                                        HEIDEMAN NUDELMAN & KALIK, PC
                                                                                        5335 Wisconsin Avenue, NW
                                                                                        Suite 440
                                                                                        Washington, DC 20015
                                                                                        202-463-1818
                                                                                        Fax: 202-463-2999
                                                                                        Email: rdheideman@hnklaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 ESTATE OF YAEL BOTVIN                                                   represented by Richard D. Heideman
 by and through its Administrator Russell                                               (See above for address)
 Ellis, Esq.                                                                            LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 TAMAR BOTVIN DAGAN                                                      represented by Richard D. Heideman
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 MICHAL BOTVIN                                                           represented by Richard D. Heideman
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


 V.
 Defendant
 ISLAMIC REPUBLIC OF IRAN

 Defendant

https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?115504638217422-L_1_0-1                                                  1/2
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                                      District of Columbia          02/11/22 Page 3 of 3
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 IRANIAN MINISTRY OF
 INFORMATION AND SECURITY

 Defendant
 IRANIAN REVOLUTIONARY GUARD


  Date Filed            # Docket Text
  03/24/2008           1 COMPLAINT against IRANIAN MINISTRY OF INFORMATION AND SECURITY,
                         IRANIAN REVOLUTIONARY GUARD, ISLAMIC REPUBLIC OF IRAN ( Filing fee $
                         350, receipt number 4616011186) filed by JULIE GOLDBERG-BOTVIN, ESTATE OF
                         YAEL BOTVIN, TAMAR BOTVIN DAGAN, MICHAL BOTVIN. (Attachments: # 1 Civil
                         Cover Sheet)(jf, ) (Entered: 03/25/2008)
  03/24/2008                Summons (3) Issued as to IRANIAN MINISTRY OF INFORMATION AND SECURITY,
                            IRANIAN REVOLUTIONARY GUARD, ISLAMIC REPUBLIC OF IRAN. (jf, ) (Entered:
                            03/25/2008)
  03/24/2008           2 NOTICE OF RELATED CASE by JULIE GOLDBERG-BOTVIN, ESTATE OF YAEL
                         BOTVIN, TAMAR BOTVIN DAGAN, MICHAL BOTVIN. Case related to Case No. 05-
                         220 & 00-2328. (jf, ) (Entered: 03/25/2008)
  03/27/2009                MINUTE ORDER directing the plaintiffs to SHOW CAUSE on or before April 3, 2009
                            why the court should not dismiss this suit for failure to prosecute. LCvR 83.23; 28 U.S.C.
                            1608. Signed by Judge Ricardo M. Urbina on 3/27/09. (lcrmu2) (Entered: 03/27/2009)
  03/27/2009                Set/Reset Deadlines: Response to Show Cause due by 4/3/2009. (mpt, ) (Entered:
                            03/27/2009)
  04/23/2010           3 ORDER dismissing the action without prejudice. Signed by Judge Ricardo M. Urbina on
                         4/23/10. (lcrmu2) (Entered: 04/23/2010)




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